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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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                                                                          Case No. 2:23-cv-6188 (OEM)(ST)
 SUPERB MOTORS, INC., TEAM AUTO SALES LLC.,
 ROBERT ANTHONY URRUTIA, 189 SUNRISE
 HIGHWAY AUTO LLC., NORTHSHORE MOTOR
 LEASING, LLC., BRIAN CHABRIER, individually and
 derivatively as a member of NORTHSHORE MOTOR
 LEASING, LLC, JOSHUA AARONSON, individually and
 derivatively as a member of 189 SUNRISE HWY AUTO,
 LLC, JORY BARON, 1581 HYLAN BLVD AUTO LLC,
 1580 HYLAN BLVD AUTO LLC, 1591 HYLAN BLVD
 AUTO LLC, 1632 HYLAN BLVD AUTO LLC, 1239
 HYLAN BLVD AUTO LLC, 2519 HYLAN BLVD
 AUTO LLC, 76 FISK STREET REALTY LLC, 446
 ROUTE 23 AUTO LLC, and ISLAND AUTO
 MANAGEMENT, LLC,

                                    Plaintiffs,

                  -against-

 ANTHONY DEO, SARA DEO, HARRY THOMASSON,
 DWIGHT BLAKENSHIP, MARC MERCKLING,
 MICHAEL LAURIE, TOMAS JONES, CPA, CAR BUYERS
 NYC INC., GOLD COAST CARS OF SYOSSET LLC,
 GOLD COAST CARS OF SUNRISE LLC, GOLD COAST
 MOTORS AUTOMOTIVE GROUP LLC, GOLD COAST
 MOTORS OF LIC LLC, GOLD COAST MOTORS OF
 ROSLYN LLC, GOLD COAST MOTORS OF
 SMITHTOWN LLC, UEA PREMIER MOTORS CORP.,
 DLA CAPITAL PARTNERS INC., JONES LITTLE & CO.,
 CPA’S LLP, FLUSHING BANK, and LIBERTAS FUNDING,
 LLC,

                                    Defendants.

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                     DECLARATION OF ANTHONY DEO IN OPPOSITION
                        TO PLAINTIFFS’ ORDER TO SHOW CAUSE

         Anthony Deo, pursuant to 28 U.S.C. § 1746, declares under the penalty of perjury that the

 following is true and correct:



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      1. My name is Anthony Deo and I am a Defendant in the above captioned action. I have

         first hand knowledge of the facts recited herein.

      2. I submit this Affidavit individually and on behalf of the responding corporate

         Defendants represented herein by our attorney, Harry Thomasson, whom I have known

         and who has represented my own and my wife’s (Sara Deo, co-defendant herein)

         professional interests since during or about 2020.

      3. During or about 2016, I leased the space and began operating a used car dealership at

         180 Michael Drive, Syosset, New York. Attached hereto as Exhibit A are true and

         accurate copies of the leases for the spaces we rented and operated for the two used car

         dealerships since 2016 (NorthShore Motor Leasing, LLC, hereinafter, “NorthShore”)

         and 2020 (189 Sunrise Hwy Auto, LLC, hereinafter, “Sunrise”).

      4. This Court is aware that there is a dispute involving, inter alia, settling ownership of

         NorthShore and Sunrise between the parties to the Nassau County (New York)

         Supreme Court action entitled Chabrier, et al., v. Deo, et al., Index No. 617224/2022.

         Accordingly, I will not attempt to explain everything about that lawsuit here.

      5. However, for this Court’s purposes, a brief explanation is necessary.

      6. During the fall of 2022, Wendy Kwun, the CFO of the Josh Aaronson group including

         co-Plaintiffs from the instant action, BRIAN CHABRIER, JOSHUA AARONSON,

         JORY BARON, 1581 HYLAN BLVD AUTO LLC, 1580 HYLAN BLVD AUTO

         LLC, 1591 HYLAN BLVD AUTO LLC, 1632 HYLAN BLVD AUTO LLC, 1239

         HYLAN BLVD AUTO LLC, 2519 HYLAN BLVD AUTO LLC, 76 FISK STREET

         REALTY LLC, 446 ROUTE 23 AUTO LLC, and ISLAND AUTO MANAGEMENT,

         LLC, (hereinafter, the “Aaronson” group and/or Plaintiffs), one or more of whom,



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         through November, 2022, provided the Floor Plan at both NorthShore and Sunrise,

         informed me and the Aaronson group that I and my wife were mistakenly not being

         listed as the owners of NorthShore and Sunrise on tax returns, and provided the impetus

         to correct that mistake. The tax returns prepared and filed in the fall of 2022 for

         NorthShore and Sunrise were then amended to indicate that I and my wife were the

         owners of 100% of the stock of those two corporations, and these amended returns

         were specifically approved by Josh Aaronson, the head of the Aaronson group and

         co-Plaintiff in both the Nassau County Supreme Court case and this case. Attached

         hereto as Exhibit B are true and accurate copies of the email chain and tax returns

         proving same.

      7. After the tax returns were prepared and filed as approved by Aaronson, I questioned

         the whereabouts of certain monies belonging to NorthShore and Sunrise, including

         substantial sums missing from Pandemic Relief Funds (“PPE” funds). Immediately

         thereafter and prior to the end of 2022, the Aaronson group 1) left my two dealerships

         by pulling their Floor Plan support; 2) took all files with them when they appeared at

         the dealerships on my day off and took said records; 3) locked me out of the

         dealerships’ software; 4) took the licenses for the dealerships; 5) locked me out of the

         bank accounts for the dealerships; and 6) commenced the Nassau Supreme Court action

         alleging in an ex parte application that I was not the owner of my dealerships and

         needed to be enjoined from their operation.

      8. Once our attorney (Harry Thomasson) responded to that motion practice and the Court

         rendered its decision already given to this Court by attorney Thomasson in letters to

         this Court last month, the Aaronson group lost their Order to Show Cause in its entirety




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         when the Nassau Court ruled that the Aaronson group “failed to demonstrate a

         likelihood of success on the merits of their claims.”

      9. From the outset of the trouble with the Aaronson group that commenced last

         November, 2022, with their ruination of NorthShore and Sunrise (they still have not

         given back any books, records, files, or access to software/bank accounts for those two

         businesses that have been shuttered ever since; demand is renewed here, now, for the

         return of those books, records, files and access), our outside counsel, Harry Thomasson,

         told us that we had to “mitigate” our losses from what the Aaronson group did to our

         businesses.

      10. It is from and with this backdrop that I and Anthony “Tony” Urrutia commenced our

         relationship last November.

      11. Tony was told of the Aaronson problems and proposed the following: I would pay him

         $500,000.00 for one half of Superb Motors, I would take over its day to day on site

         operations of Superb, I would buy him out of the other half of Superb, and I would

         eventually also obtain ownership of three dealerships/points owned by Urrutia in

         Danbury and Hartford, Connecticut, for an initially undetermined price.

      12. As an inducement and by way of performing due diligence, Tony provided me with a

         financial statement prepared by his then-CFO, Alysia Cayer, which was previously

         forwarded to one of the Floor Plan companies (NMAC) for Superb by Ms. Cayer.

      13. A true and accurate copy of that financial statement for the Superb Motors dealership

         for January, 2022, through and including the end of November, 2022 is attached hereto

         as Exhibit C.




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      14. For the instant purposes, I ask the Court to notice the following (at least) from Exhibit

         C: In the upper left corner of the document, the cash on hand and cash investments are

         both negative numbers. Also, in the lower right-hand corner of the document, the net

         earnings and total net worth of Superb for the listed eleven months of 2022 are in the

         negative by nearly three quarters of a million dollars combined. Just above the negative

         net earnings and negative net worth are indications that in 7 of the 11 listed months,

         the company was operating in the negative, increasingly as the year went on.

      15. In January, 2023, I fully took over day to day operations at Superb. Despite the poor

         condition of the company as set forth in the document attached as Exhibit C (which I

         had nothing to do either with creating that document or any involvement at all in the

         company for those 11 months), I knew that it was an opportunity that I could improve

         (and candidly, the Aaronson group’s destruction of NorthShore and Sunrise left me

         with few options to mitigate my losses).

      16. Improvement could come in several ways, I thought, and then set about making those

         improvements.

      17. When I arrived at Superb (I started part time in December, 2022), I knew that the

         company was only producing about 100 or fewer leads per month on its own. I

         immediately had Sara, my wife, commence a program to increase leads for sales at

         Superb; by the time Tony locked me out on August 3, 2023 (as set forth, infra) Superb

         was producing in excess of 4,000 leads per month. When I arrived at Superb parttime

         in December, there were a couple of employees (other than upper management)

         standing around with their hands in their pockets on the sales floor. When I left Superb




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         on the night of the Lockout, there were constantly at least seven employees sitting at

         desks daily working the phones/leads Sare provided, all day long.

      18. When I arrived at Superb the company did not participate in purchasing automobiles at

         the various auto auctions in and around the greater Long Island and NYC areas; I

         immediately commenced purchasing at such auctions. Increased automobiles for sale

         increases sales, a basic in the business, and Tony and I knew that we had plenty of room

         for extra cars since I had two empty car dealership lots that I leased that Josh Aaronson

         caused to be empty by destroying NorthShore and Sunrise on the way out the door.

         Tony agreed to my plan for additional purchases, and we did so, filling the extra space

         that I had available in the process for the benefit of Superb. In fact, that these Superb

         cars have been at my other two lots is well documented in the Nassau Supreme Court

         case, where and when Josh Aaronson trespassed at those lots to take pictures of the cars

         he wrongfully thought I was selling through NorthShore and/or Sunrise; the attorneys

         for Aaronson here and in that case along with my attorney (Thomasson) exchanged

         letters with the Nassau Court Judge (Gianelli) about that very issue.

      19. When I arrived at Superb, there was little or no advertising, and absolutely no

         advertising budget. When I left, Superb was advertising daily.

      20. I also started scrutinizing various books and records at Superb, and during or about

         March, 2023, I noticed peculiarities with certain financial information with the

         company.

      21. Thus, I discussed these numbers and peculiarities with my longtime accountant, Tom

         Jones at Jones Little (co-Defendants, wrongfully, herein); Tom Jones told me




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         something was wrong and pointed to numbers indicating the possibility of fraud taking

         place at Superb. Tom Jones suggested an internal audit.

      22. Accordingly, I notified the CFO of Tony Urrutia’s businesses (Superb plus the three

         dealerships in Connecticut, a/k/a/ Team Auto Group), Alysia Cayer, that I wanted a

         forensic review of Superb’s finances; attached hereto as Exhibit D are true and accurate

         emails from when I raised the issue with Ms. Cayer, whom I suspected at the time was

         doing something wrong, so I cc’d both my accountant and attorney on the emails to let

         her know that it was a serious matter.

      23. Two things unexpectedly occurred within about one (1) week thereafter: Ms. Cayer

         informed me (as set forth in Exhibit D) that she needed authority from Tony Urrutia to

         conduct the examination, and when she asked for that authority, Tony Urrutia fired her.

         I was not consulted on that firing, did not know he was going to fire her, and was

         surprised to find out that she was fired by Tony.

      24. I now surmise that her firing was merely an attempt by Tony to control my interest in

         finances, to blame Alysia and placate me with the firing, and to prevent any forensic

         examination from taking place, because while he said that there would be a new CFO

         “soon,” none was ever appointed nor hired by Tony by the time he executed the

         Lockout on August 3, 2023.

      25. In June, 2023, two relevant events occurred for this Court’s consideration: 1) My

         accountant, Tom Jones, produced a routine mid-year Profit and Loss Statement, a true

         and accurate copy of which is attached as Exhibit E; and 2) Tony Urrutia’s/Team

         Auto’s COO, Bruce Novicky, at the stated direction of Tony Urrutia, gave me a copy

         for the first time of a report produced by one of Superb’s Floor Plan providers, NMAC,




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         which they first gave to Tony Urrutia and/or Team Auto employees at or about the end

         of February, 2023, after review of Superb’s 2022 finances as provided to NMAC by

         Tony Urrutia/Team Auto/CFO Alysia Cayer. A true and accurate copy of that report

         from NMAC reviewing Superb’s overall health as of the end of 2022 is attached hereto

         as Exhibit F.

      26. Combined, Exhibits E and F were utilized and discussed at length between Tony

         Urrutia and I in connection with the discussions over finalizing my complete purchase

         of Superb and also purchasing the three Team Auto dealerships/points in Connecticut.

         Exhibit E demonstrates the clear improvements to Superb’s overall financial condition

         (all monies on the ledger reversed from negative balances at the end of November,

         2022, prior to my take over of daily operations at the beginning of January).

      27. But more important is the report from NMAC detailing NMAC’s comparative findings

         with whatever Tony Urrutia and Team Auto gave NMAC concerning Superb’s finances

         for 2022, including, quite possibly, Exhibit C.

      28. NMAC’s findings in Exhibit F are disturbing on a number of levels, as Tony Urrutia’s

         COO told me when he gave me the document for the purpose of speeding up my

         acquisition of the Connecticut dealerships: Bruce Novicky directly indicated that 1)

         this was only the report produced by NMAC for Superb; 2) there were reports produced

         by NMAC for each of Urrutia’s/Team Auto’s other dealerships; 3) the other reports

         “are even worse,” and 4) given how bad these reports look, if I don’t move on the full

         purchases fast (read: hurry up and give Tony more money), NMAC could pull the

         NMAC Floor Plan to each of the dealerships.




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      29. What Bruce Novicky, Tony Urrutia, and Team Auto apparently forgot, or thought that

         my accountant would miss, is that on page 6 of the NMAC report attached as Exhibit

         F contains is the very clear listing of “Advance Amount: $650,000.00.”

      30. It wasn’t until late July that the meaning of this entry was fully known to me and my

         wife after Tom Jones’ review of same: Just before I bought half the company for

         $500,000.00, Tony Urrutia obtained a loan/effective mortgage against the company for

         $650,000.00 on November 1, 2022, never told me about it, kept it hidden from me, and

         took all of that money plus the money I paid him for my shares of the company

         ($500,000.00) later that month without leaving any of that $1,150,000.00 for the

         company to which it rightfully belongs.

      31. At about the same time, I also discovered that $760,000.00 was taken by Tony Urrutia

         without my knowledge from Superb for his problems with his Connecticut

         dealerships/points, and even worse, that Tony somehow put my Rolls Royce on his

         Floor Plan and took that money himself for unknown purposes.

      32. Thus, the week before the Lockout, I confronted Tony and told him (angrily) that I was

         aware of these improprieties, and demanded the money be given back and that my Rolls

         Royce be taken off of his Floor Plan(s). Please understand, your Honor, I did not ever

         communicate with Tony’s Floor Plan providers, and only Tony and his people

         controlled the finances at the dealership, meaning that I could not do anything regarding

         sales or money without Tony’s full knowledge and approval. He let me run the store,

         now wants to claim that perfectly normal operations indicate wrongdoing when I had

         no final say on anything regarding money at that store.




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       33. He immediately proposed that I give him $500,000.00 for the remaining shares of

          Superb, and another $500,000.00 for the Connecticut dealerships/points, and that I

          forgive the rest of the money. I spoke with my attorney about the proposal, and as set

          forth in his accompanying Declaration, he began the process of doing due diligence for

          the deal in Connecticut, just in case I wanted to proceed.

       34. But then the next day there was a second conversation with Tony, much more somber

          and less upbeat than the first: It was a distinctively “come up with the money or else”

          kind of tone; I said that paperwork had to be prepared, and he indicated that there was

          no need for the paperwork, come up with the money and we can do the paperwork

          afterward. He was clearly in need of money, fast, and I was very leery of what was

          taking place and told him it would take time.

       35. The following week from that conversation, on the evening of August 3, 2023, I was

          confronted at Superb’s dealership by Nassau police and police detectives at the behest

          of Bruce Novicky, the absentee COO for Team Auto who appeared unexpectedly that

          night.

       36. The police and police detectives told me about two allegations Bruce Novicky was

          making regarding the dealership: I was told that I stole 102 automobiles, and that I

          stole the specific sum of $760,000.00. Both of those accusations were and are false.

          Novicky had the locks changed, and armed guards were posted to keep me out of the

          dealership.

       37. I know exactly what happened to the specific sum of $760,000.00 “missing” from the

          dealership: Bruce Novicky is an absentee COO for Team Auto, meaning, that while

          he may appear at the Connecticut dealerships from time to time, he barely ever appears




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          at Superb Motors here on Long Island. And Tony Urrutia spends 90%+ of his time out

          of the country, and mainly in Costa Rica. Just as I found out in July that Tony took

          $650,000.00 from Superb just before selling me half the company (and having an

          undisclosed NMAC lien against the company for that much money), I also was told by

          Kendra Kernizant, the on-site financial coordinator for Team Auto at Superb that Tony

          took $760,000.00 from Superb to bail out his Connecticut dealerships, just as Bruce

          suggested when he gave me Exhibit F to help push me to purchase the Connecticut

          dealerships apparently without realizing that the loan on page 6 was never disclosed to

          me. When Bruce was carrying out Tony’s orders to Lock me Out on August 3, he

          falsely and conveniently accused me of taking $760,000.00, when it is simply not

          possible as I do not control the dealership’s finances, Tony and Bruce do along with

          Kendra, who was hired by them and still works at the dealership without me.

       38. The issue before the Court now involves automobiles that were and are in my

          possession in a revolving fashion (meaning different cars coming and going from my

          lots) with my partner’s (Tony Urrutia’s) full knowledge and support since December,

          2022. Last week, Mr. Urrutia’s attorneys provided a list to my attorney, and Mr.

          Thomasson forwarded that list to me. Attached hereto as Exhibit G is a true and

          accurate copy of that list, as marked up by me and my wife to confirm which cars

          belong to Superb and are in our possession (marked with the word “yes” in the last

          column) and which cars have nothing to do with this lawsuit wherever they may be, in

          our possession or not as further marked in the last column of Exhibit G.

       39. The answering Defendants oppose the injunction requested by the Plaintiffs (all that is

          left to decide, as we understand the Court’s previous Orders, is the issue of the cars on




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          this list, Exhibit G, along with supposed proprietary information which I address,

          below). We oppose the application for those reasons listed in attorney Thomasson’s

          Declaration, but also for a rather simple reason: We do not and cannot trust these

          Plaintiffs for any reason, and this Court should not do so either.

       40. First, during the last week of August, three plus weeks after I was locked out, Superb

          Motors changed its sign from saying “Superb Motors” to “Team Auto.” Attached

          hereto as Exhibit H is a true and accurate copy of the New York State DMV Regulations

          as they apply to automobile dealerships; set forth at length in that booklet are clear

          regulations applying to signs, and one thing that all dealers understand is that the

          dealership sign is literally sacrosanct in the business.

       41. Customers at all times need to be able to identify and find the dealership from which

          they purchased an automobile. It takes months or longer to change the operating name

          of a dealership through the NYDMV, and involves, inter alia, changes on the licensing

          of that dealership to coincide with name changes.

       42. So either Tony Urrutia planned everything set forth herein for months without

          disclosing to me, his partner and operator of the dealership, what he was doing with

          that dealership, or he changed that sign without DMV knowledge and approval, thereby

          endangering its license with the DMV for an impermissible name change. Either way,

          he seeks equity, as my attorney informs me, with unclean hands.

       43. I am left stunned that Tony asked for more money just before taking this action, and

          told me no paperwork was necessary: If I had given him that money, it would be gone,

          your Honor.




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       44. I absolutely improved the operations, value, and cash on hand of Superb during my

          time operating that dealership, and Tony Urrutia has a demonstrated desperate need for

          money for unknown reasons involving his operation of Superb and utilizing it as a

          piggy bank to save his other operations.

       45. I, on the other hand, have no businesses currently operating since the Aaronson group

          ruined my businesses last November. Although my Gold Coast corporations (Syosset

          and Sunrise) were recently licensed to sell automobiles for the Syosset and Amityville

          leased locations, I do not have Floor Plans/autos for active sale, yet, for reasons that

          will be disclosed when we bring our affirmative claims, but which are irrelevant for

          this Court’s purposes in deciding the limited issue of Superb (and other) cars and

          injunctive relief now.

       46. Moreover, neither I nor my wife ever do either the paperwork or financing of

          automobiles at any dealerships, including Superb. The cars in our possession are our

          cars, our corporate cars, cars that belong to others and are not in our possession, Superb

          demo cars commonly (throughout the automobile dealership business in the entire

          United States and not just New York) utilized as a perk of ownership by car dealers

          everywhere, including Plaintiffs in this action, and also cars that belong to Superb but

          which are easily more safely stored by me and my businesses than by Tony Urrutia

          under the dishonest circumstances of this case. I cannot and will not dispose of these

          automobiles, Tony Urrutia may have already done so, or, at least, possesses the means

          that I do not possess to dispose of them going forward.

       47. I have a half dozen cars in my possession that are utilized as demos, and will not be

          disposed of in any fashion (and I cannot without the assistance of Superb’s finance




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          team). Over half of the cars on the list are not Superb’s, or are not in my possession,

          as set forth in the attached list. Disgustingly and tellingly, my Rolls Royce is now listed

          on Tony’s attached list. If they claim to have paperwork on that car, it is forged, your

          Honor, and there will not be money paid for that car to me from Superb, I can assure

          this Court.

       48. In fact, one of the more interesting aspects of this case that should not go unnoticed by

          this Court is that neither I nor anyone on my behalf controlled the finances at Superb:

          The finances are controlled by Kendra, the on-site office controller hired by Team

          Auto/Tony Urrutia; all paperwork on the cars run through her and the GM at the

          dealership, Eugene Lowe, also hired and paid/controlled by Team Auto and Tony

          Urrutia. Both Eugene and Kendra remain as employees under the control of Team

          Auto, Tony, and Bruce, the COO.            Discovery will eventually produce Plaintiff

          controlled documentation as to just how grossly inaccurate Plaintiffs’ accusations are.

       49. Lastly, it also should not go unnoticed by this Court that the “emergency” that

          purportedly exists with these cars by and through whatever correspondence/hearsay is

          presented purportedly from the Floor Plan providers was entirely arranged by Plaintiffs

          herein. I have not ever met with the assigned representatives from the Floor Plan

          providers for Superb, barely met them through NorthShore and Sunrise, and Tony

          Urrutia told me directly (a month or more before the Lockout) that Josh Aaronson

          spoke to the representatives for NextGear and NMAC to cause “problems” for Superb

          because of “you people.” If the Floor Plan providers know about cars as commonly

          stored elsewhere, these Plaintiffs necessarily told them to bring about the “emergency”

          because I did not speak with anyone from NMAC or NextGear in many months at this




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          point. I have already and continue to cooperate with any audits that are common to

          Floor Plan operations.

       50. Those Floor Plan providers have assigned representatives for each dealership. Tens

          and hundreds of millions of dollars are at stake; these providers are literally multi-

          billion-dollar corporations, and the Aaronson Plaintiffs may, collectively, approach or

          even exceed having a billion dollars in assets themselves.

       51. Those representatives and the individual Plaintiffs herein have dinners, lunches,

          parties, and meetings regularly. Gifts are exchanged, the relationships are extremely

          personal and cozy with the staggering amounts of money involved. I know, because

          Josh Aaronson and Tony Urrutia have told me all about them, but also told me “you

          people” are not invited.

       52. I didn’t always think much of what they were saying, because at first, I thought they

          were talking about me and those who work with me in operating our (relatively

          speaking) two small, used car lots in Syosset and Amityville, and then also Superb. But

          the Urrutia and Aaronson Plaintiffs are all Caucasian, and all controlled the finances

          first at NorthShore and Sunrise, then at Superb, and initially in their now denied

          application before this Court, tried to control and prevent my newly licenses businesses

          from ever operating after the Nassau Court ruled that the Aaronson Plaintiffs “failed to

          demonstrate a likelihood of success” in their claimed ownership of NorthShore and

          Sunrise.   They have convinced representatives from NMAC, Chase Bank, and

          NextGear to stop doing business with me; none of these businesses have ever spoken

          to me before cutting off business with me, that is the clear and telltale indication that

          it is being arranged by these powerful Plaintiffs. And all of those businesses have




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          Caucasian representatives that have close relationships with the individual Caucasian

          Plaintiffs and have effectively shut down our two of the few, if any, minority owned

          automobile dealerships on Long Island. It is also a fact, your Honor, that I am of West

          Indian and African descent, and my wife is of Indian and African descent.

       53. My attorney is an outside attorney with no privity to the Plaintiffs whatsoever, other

          than filing an Answer in a Superb case brought in this Court at the end of July at my

          direction once the case was brought to our attention after having been served (and

          unanswered) to Tony Urrutia. My accountants at Jones Little have never had privity

          with any of these Plaintiffs and have never provided me with anything other than

          outside accounting services. My wife worked for Superb after working for NorthShore

          and Sunrise, and did fantastic jobs at expanding leads and marketing/advertising for all

          three companies. Marc Merckling and Dwight Blakenship are low level workers who

          help with menial tasks at the dealerships (such as moving, washing, and cleaning cars;

          picking up and moving cars from auctions; etc.) and provide security as former

          policemen. Marc never worked for Superb; Dwight worked for Superb for about the

          last two months I was there prior to the Lockout. Neither has anything to do with

          money or operations at Superb or any other dealerships, ever. Michael Laurie is an

          outside financial consultant who helped me obtain legitimate arm’s length business

          loans from the co-Defendant financing companies herein, and was merely paid short

          money for referrals he provided to Superb, less than $9,000.00 in total (he also sold a

          car of his own to Superb and received the overage after the loan was paid off, also less

          than $8,000.00, I believe). That’s it. This suggestion that we’re operating a criminal

          enterprise endangering these Plaintiffs is entirely false, brought in bad faith, and




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          candidly laughable, will be proven as such, and will be dealt with separately from the

          instant application.

       54. Accordingly, we ask that the Court deny the application in its entirety. As to those cars

          listed on the attached list (marked “yes” if they are both Superb cars and in our

          possession; the rest are inappropriately sought by the Plaintiffs), none will be disposed

          of pending further order of the Court, and are safer in my possession as co-owner of

          Superb than they could possibly be at this point with my underhanded partner. I also

          utilize a half dozen of the Superb cars as demos, as specifically allowed with Tony

          Urrutia’s knowledge and permission since December, and is a common perk of

          ownership of a dealership. The rest of the cars on that list are inappropriately on the

          list, and please know your Honor that these Plaintiffs would not know what cars are

          even on their own lot let alone in my possession because they are never involved with

          Superb operations, none of them. And since Tony joined forces with Josh Aaronson

          undoubtedly for money he could not and did not get from me, they can pay whatever

          penalty (there won’t be any, your Honor, they can arrange to avoid that) that may come

          due since they tried to “sic” the Floor Plan companies on me; it’s their own fault and

          their underhandedness should not be countenanced by this Court.

       55. Lastly, the request to protect Plaintiffs’ so-called private intellectual property is

          nonsensical and misplaced. That request is also overly broad and unclear. For

          example, Superb (during our time on-site) had no fleet customers, meaning those

          customers that buy multiple cars from the dealership. Almost without exception, and

          that occasional exception is a buyer’s friend or relative, every car sold is a “one and

          done” deal. There is nothing that needs protection. Neither I nor any other Defendant




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